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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ERIC JACKSON, ALARIC STONE, and                        )
MICHAEL MARCENELLE, on behalf of                       )
themselves and all others similarly situated,          )
                                                       )        Case No. 4:22-cv-00825-P
                       Plaintiffs,                     )
v.                                                     )
                                                       )
ALEJANDRO N. MAYORKAS, in his official                 )
capacity as Secretary of Homeland Security,            )
LLOYD J. AUSTIN, III, in his                           )
official capacity as Secretary of Defense,             )
LINDA L. FAGAN, in her official                        )
capacity as Commandant of the Coast Guard, and         )
BRIAN K. PENOYER, in his official capacity             )
as Assistant Commandant for Human                      )
Resources of the Coast Guard,                          )
                                                       )
                       Defendants.                     )


                                                ORDER

        Upon consideration of Plaintiffs’ unopposed motion for leave to file a corrected Brief

Opposing Transfer, it is hereby ORDERED that the motion for leave is GRANTED. The

corrected brief attached to Plaintiffs’ motion for leave is deemed filed as of the date of this

Order, and the clerk will file a copy of the corrected brief.

        SO ORDERED on this 11th day of October 2022.




                       __________________________________
                       Mark T. Pittman
                       UNITED STATES DISTRICT JUDGE




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